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                                  7
                                                                    UNITED STATES DISTRICT COURT
                                  8                                      DISTRICT OF NEVADA

                                  9   PROTON ASSOCIATES LLC, and
                                      SETH MILLER,                                              Case No. 2:25-cv-00856-JCM-BNW
                                 10
HOWARD & HOWARD ATTORNEYS PLLC




                                                               Plaintiffs,                   STIPULATION AND ORDER FOR
                                 11            v.                                         EXTENSION OF TIME FOR DEFENDANT
                                                                                            TO RESPOND TO THE COMPLANT
                                 12   AVELO, INC.,
                                                                                                           (First Request)
                                 13                            Defendant.

                                 14

                                 15           Pursuant to Federal Rule of Civil Procedure 6(b) and Local Rule IA 6-1, Plaintiffs Proton
                                 16   Associates LLC and Seth Miller (together, “Plaintiffs” or “Miller”), and Defendant Avelo, Inc.
                                 17   (“Defendant” or “Avelo”), hereby agree and stipulate to extend the time for Avelo to file and serve
                                 18   its response to the Complaint, filed on May 16, 2025, the response to which is currently due on
                                 19   Wednesday, June 11, 2025, and in support of such, state the following:
                                 20           1.        The Complaint in this action was filed on May 16, 2025 (ECF No. 1) and Avelo
                                 21   was served with the Summons and Complaint on May 21, 2025 (ECF No. 7).
                                 22           2.        Avelo has recently retained its undersigned litigation counsel who, in light of their
                                 23   existing obligations to other clients, as well as their professional, and personal schedules, require
                                 24   additional time to investigate the factual and legal bases for the Complaint and to prepare and file a
                                 25   response to the Complaint.
                                 26           3.        Accordingly, Avelo’s counsel has requested, and Plaintiffs’ counsel has agreed, to
                                 27   a one-week extension of time for Avelo to file and serve its response to the Complaint, from
                                 28   Wednesday, June 11, 2025 to Wednesday, June 18, 2025.


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                                  1           4.        This is the parties’ first request to extend the deadline for Avelo to file and serve

                                  2   its response to the Complaint. The parties make this stipulation in good faith, to promote the just,

                                  3   speedy, and inexpensive determination of this action, and not for purposes of undue delay.

                                  4           IT IS SO AGREED AND STIPULATED:

                                  5   HOWARD & HOWARD ATTORNEYS PLLC                           BRAVO SCHRAGER LLP

                                  6   By:     /s/ Jonathan W. Fountain                         By:     /s/ Daniel Bravo
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                                 19
                                                                                               Attorneys for Plaintiffs
                                 20                                                            Proton Associates LLC and Seth Miller

                                 21

                                 22
                                                                              IT IS SO ORDERED:
                                 23

                                 24

                                 25

                                 26                                           UNITED STATES MAGISTRATE JUDGE
                                 27

                                 28                                           DATED:


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